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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                               JACKSONVILLE DIVISION


W.B., by and through his father and legal
guardian David B., and A.W., by and
through her mother and legal guardian,
Brittany C., on behalf of themselves and
all others similarly situated,

              Plaintiffs,                           Case No.: 3:21-cv-771-MMH-PDB

v.

JASON WEIDA, in his official
capacity as Interim Secretary for the
FLORIDA AGENCY FOR HEALTH
CARE ADMINISTRATION,

          Defendant.
________________________________/

                   JOINT MOTION TO STAY PROCEEDINGS

       Plaintiffs, W.B., by and through his father and legal guardian, David B., and

A.W., by and through her mother and legal guardian, Brittany C., and Defendant,

Jason Weida, in his official capacity as Interim Secretary of Florida’s Agency for

Health Care Administration (“AHCA”),1 by and through their respective counsel,

file this joint motion for a short, 90-day stay of the proceedings, as AHCA has

engaged in rulemaking relating to the Florida administrative rule at issue in this


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 By operation of Rule 25(d), Jason Weida is automatically substituted as the defendant in this
action, due to the resignation of former agency secretary Simone Marstiller.
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proceeding, and the parties have agreed to mediate during the pendency of agency

rulemaking.

      1.      At the center of this case is AHCA’s definition of “medical necessity,”

which is defined by agency rule, Florida Administrative Code Rule 59G-1.010, used

by AHCA as a utilization control device in that services must be “medically

necessary,” as defined in Rule 59G-1.010, to be covered by Florida’s Medicaid

program. Plaintiffs contend that AHCA’s medical necessity definition, and its

implementation thereof,, is in conflict with the “early and periodic screening,

diagnostic and treatment services” (“EPSDT”) provisions of the Medicaid Act and

regulations implementing them, and, accordingly, Plaintiffs seek through this action

to prevent AHCA from continuing to rely on its medical necessity definition in

making coverage decisions involving Medicaid enrollees eligible for EPSDT

services, which are all Medicaid enrollees under the age of 21.

      2.      On December 22, 2022, AHCA published a Notice of Development of

Rulemaking, notifying the public that AHCA is considering modifications to the

definition of “medical necessity” contained in Rule 59G-1.010. Additionally, the

parties have agreed to attempt mediation during the pendency of agency rulemaking,

which AHCA anticipates will conclude within 90 days.

      3.      It is well-settled that “[t]he District Court has broad discretion to stay

proceedings as an incident to its power to control its own docket.” Pennsylvania

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Nat’l Mut. Cas. Ins. Co. v. Edmonds, No. CV 09-0089-WS-B, 2009 WL 10704665,

at *1 (S.D. Ala. May 27, 2009) (quoting Clinton v. Jones, 520 U.S. 681, 706, 117 S.

Ct. 1636 (1997)). “[T]he power to stay proceedings is incidental to the power

inherent in every court to control the disposition of the causes on its docket with

economy of time and effort for itself, for counsel, and for litigants. How this can best

be done calls for the exercise of judgment, which must weigh competing interests

and maintain an even balance.” Pennsylvania Nat’l Mut. Cas. Ins., 2009 WL

10704665, at *1 (quoting Landis v. North American Co., 299 U.S. 248, 254-55, 57

S. Ct. 163 (1936)); see also Hill v. Hoover Co., No. 1:06CV96-MCR/GRJ, 2013 WL

12177101, at *1 (N.D. Fla. June 25, 2013) (noting court continued stay of litigation

for five years during ongoing settlement discussions).

      4.     Here, the parties respectfully assert that the balance of equities weigh

in favor of the short requested stay. AHCA is engaged in rulemaking, and the agency

rule at the heart of this matter may be modified in a manner material to this

proceeding. Further, the rulemaking will not be protracted but rather will likely

resolve in a few months, and the parties intend to mediate during the pendency of

the rulemaking proceedings. Additionally, the stay may avoid the Court

unnecessarily expending resources on reviewing any pending or future substantive

motions on matters that may be materially changed or ultimately resolved through



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mutual agreement. The parties agree that neither Plaintiffs nor AHCA will be

prejudiced by the requested stay.

      WHEREFORE the Parties respectfully request the Court enter an order

temporarily staying the proceedings, for 90 days, to allow for AHCA’s rulemaking

to conclude and to allow the Parties an opportunity to mediate during the pendency

of agency rulemaking.

      Respectfully submitted this 19th day of January, 2023.

FOR THE PLAINTIFFS,                      FOR THE DEFENDANT,


 /s/ Katherine DeBriere                     /s/ Erik M. Figlio
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                       CERTIFICATE OF SERVICE

     I HEREBY CERTIFY that a true and correct copy of the foregoing was served
via CM/ECF on January 19th, 2023 on all counsel of record.

                                          /s/ Erik M. Figlio
                                          Erik M. Figlio




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